JS   44    @ev. l2l12)                    Case 2:16-cv-01950-CMR Document
                                                                  COVER 1SHEET    CIVI
                                                                           Filed 04/25/16 Page 1 of 15
The JS 44 civil cover sheet and the information contained herein neither reolace nor suoolement the filine and service of Dleadinss or other Daoers as reouired bv law- exceot as
provided b-y local rules of.court. This.form, approved by the Judicial Conference of the United States in September I 974, is required for thd ule of the Clerk of tourt for th'e
purpose oI rnrtratrng the crvrl docket sheet. /SZ-f /,TSTRUCTIONS ON NEXT PAGE OF TH|S FORM.)

I. (a) PLAINTIFFS                                                                                                     DEFENDANTS
              United States of America                                                                                John Longacre

                                                                                                                      (See Attached list ofDefendants)


     (b)      County of Residence of First Listed Plaintiff llfleqqlpXla                                              CountyofResidenceofFirst ListedDefendant Philadelphia
                                (EXCDPT IN U.S. PI,AINTIFF CASES)                                                                                       (IN U.S. PLA]NTIFF CASES ONLY)
                                                                                                                      NOTE:                         INLANDCONDEMNATIONCASES,USETHELOCATIONOF
                                                                                                                                                    THE TRACT OF LAND INVOLVED.

     (c)      Attomeys (Firn   Name, Address, andTelephone Number)                                                    Attorneys      ([   Known)
              Jacqueline C. Romero, AUSA
              U.S. Attomey's Office (E.D. Pa.)
              615 Chestnut Street, Suite 1250
              Philadelphi4 PA 19106

II.      BASIS OF JURISDICTION                           (Ptace an       in One Box Only)             III. CITIZENSHIP               OF PRINCIPAL PARTIES                            qto," on "X"in one Boxfor Ptainrrff
                                                                                                                  (For Diversity Cases Only)                                              and One Boxfor Defendant)
8r         U.S. Govemment                  E3     Federal Question                                                                          PTF           DEF                                         PTF Df,F
              Plaintiff                             (,1.5. Govemment Not a Paily)                           Citizen of This   State            f]
                                                                                                                                               I           trl      Incorporated or Principal
                                                                                                                                                                       ofBusiness In This State
                                                                                                                                                                                                Place E 4 tr 4

E2         U.S. Govemment                  tr4     Diversity                                                Citizen ofAnother     State        a    2      E2       IncorporatedandPrincipalPlace             tr 5 tr5
              Defendant                             (Indicate Citizenship of Parties in ltem   III)                                                                      ofBusiness In Another State

                                                                                                            Citizen or Subject
                                                                                                               Foreign Country
                                                                                                                                 ofa           tr   3      tr:      ForeignNation                             tr 6 tr6

IV. NATURE OF SUIT (Ptace an "X" in one Box onty)
E    I   lo Insurance                           PERSONALINJURY                  PERSONALINJURY              E   625 Drug Related Seizure            E   422 App€al 28 USC I 58           E 375 False Claims Act
E    I   2o Ir,tarine                       fl 3l0Airplane         fl 365Personallnjury -                           ofttoperty 2l USC 881           E   423 withdrawal                   [ 400 State Reapportionment
E    130    Miller Act                      E 315 Airplane Product       hoductliability                    E   690 orher                                   28 USC 157                   I lloantitrust
!    I   40 Negotiable Instrument                 Liability        E 367 Health Cne/                                                                                                     [ 430 Banks and Banking
E    I 50 Recovery of Overpayment           E 320 Assault, Libel &       Phamaceutical                                                                                                   E 450 Commerce
          & Enforcement of Judgment                Slander               Personal Injury                                                                                                 D 460 Deportation
E    I 5l Medicare Acr                      E 330 Federal Employers' Product Liability                                                              E    830 Patent                      E 470 Racketeer Infl uenced and
!    152 Recovery ofDefaulted                     Liability        E 368 Asbestos Personal                                                          E    840 Trademark                             Compt Organizations
          Student Loans                     E 340 Marine                 Injury Product                                                                                                  D     480 Consumer Credit
          (Excludes Veterans)               E 345 Marine Product         Liability                                                                                                       E     490 cable/sat TV
E    I 53 Recovery of Overpayment                 Liability          PERSONAL PROPERTY                                                                                                   E     850 Securities/CommoditieV
          of Veterm's Benefits              E 350 Motor Vehicle E 370 other Fraud                                   Act                                  862 Black Lung (923)                      Exchange
E    160 Stockholders' Suits                E 355 Motor Vehicle E 371 Truth in Lending                          720 l,abor/Mmagement                E    863 DIwc/DIww (aos(g))                890 Other Statutory Actions
E    I 90 Other Contract                          ProductLiability ! 3S0OtherPersonal                                Relations                      E    864 ssID Title xvl                    891 Agicultual Acts
E    195 Contsact Product Liabilrty         E 360 Other Personal         Property Damage                        740 Railway Labor Act               E    865 Rsr (405(s)                 E     893 Environmental Matters
E    196 Frmchise                                 Injrry           ! 385 Property Damage                        751 Family and Medical                                                   EI    895 Freedom oflnformation
                                            [ 362Personallnjuy- ProductLiability                                     Leave Act                                                                      Act
                                                                                                                790 Other Labor Litigation                                                     896 Arbitmtion
                                                                                                                791 Employee Retirement                                                        899 Administrative Procedure
                                                                                                                    Income Security Act                  870 Taxes (U.S. Plaintiff                 Act/Review or Appeal of
[    220    Foreclosure                     !    ++l voting                     463 Alien Detainee                                                            or Defendant)                        Agency Decision
E    230    Rent Lease & Ejectment          E    442 Employment                 510 Motions to Vacate                                               D    871 IRS-Third Party                   950 Constitutionality   of
!    240    Torts ro Land                   E    443 Housing/                         Sentence                                                                26 USC 7609                          State Statutes
E    245    Tort Product Liability                   Accommodations             530 General
E    290    All Other Real Property         !    445 Amer. w/Disabilities       535 Death Penalty
                                                     Employment                 Other:
                                            [    446 Amer. w/Disabilities       540   Mmdamus & Other           465 Other Immigration
                                                     Other                      550   Civil Rights                  Actions
                                            E    448 Education                  555   Prison Condition
                                                                                560   Civil Detainee -
                                                                                      Conditions of
                                                                                      Confinement

                                    "X"   in One Box Only)
x                                   I   Removed from
                                        State Court
                                                               U   3    Remanded from
                                                                        Appellate Court
                                                                                                      ll4   Reinstated
                                                                                                            Reopened
                                                                                                                          or U              Transferred from
                                                                                                                                            Another District
                                                                                                                                                                    ll     6   Multidistrict
                                                                                                                                                                               Litigation
                                                                                                                                            (specrfu)

                                                     the U.S. Civil Statute under which you are frliag (Do not         cite   jurisdictional slautes unless divetsity):
VI.        CAUSE OF                             42 USCl2l8l-12189               and 28 CFR 36.503
ACTION                                          Brief description of cause:
                                                Civil Action to redress discrimination on the basis of a                                   to remove barriers to accessibi      ired by the ADA
VII.        REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                                       ND$                               CHECK YES only if demanded in complaint:
     COMPLAINT:                                     UNDER RULE 23, F.R.Cv.P.                                                                                     JURYDEMAND:                     EYes E             No

vrrr. RELATED CASE(S)
                                                  (See instructions):
      IF ANY                                                                JUDGE                                                                        DOCKETNUMBER
DATE                                                                                           OF ATTORNEY

0412512016                                                                                                                                                            Jacqueline C. Romero, AUSA
FOR OFFICE USE ONLY

     RECEIPT      #                     AMOUNT                                    APPLYING IFP                                                                                 MAG. JUDGE
         Case 2:16-cv-01950-CMR Document 1 Filed 04/25/16 Page 2 of 15



John Longacre, c/o South Philadelphia Tap Room, 1509 Mifflin Street, Philadelphia, PA
t9145;

South Philadelphia Tap Room, 1509 Mimin Street, Philadelphia,   PA     19145;

Longacre Holdings, LLC,1509 Mifflin Street, Philadelphia,   PA 19145;

LPMG Management Company,162l McKean Street, Philadelphia, PA 19145 and 1928               S.
Bancroft Street, Philadelphia,   PA   19145;

LPMG Construction Management LLC, 1621-23 McKean Street, Philadelphia, PA 19145

LPMG Financial, 1826 Ridge Avenue,2nd Floor, Philadelphia, PA 19130;

Longacre Property Management Group,1826 Ridge Avenue,         2nd   Floor, Philadelphia, PA
19130;

Citywide Properties One,Inc., 1826 Ridge Avenue,2nd Floor, Philadelphia, PA 19130
                                Case 2:16-cv-01950-CMR Document 1 Filed 04/25/16 Page 3 of 15
                                                                     TINITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA                                      DESIGNATION FORM to be used by counsel to Indicete the category of the                          case   for the purpose of
ssslgnment to eppropriate calendar.                                      -

Address       ofplaintiff.c/o   U.S. Attornsy's Office,615 Chsstnut Street, Suite 1250, Philadelphia, PA 19106


Address ofDefeodall. 1509 Mifflin Street, Philadolphia, PA 19145

Place ofAccident, Incident or Transaction: Philadelphia, PA
                                                                                     (Use Reverse Side For Additional Space)

Does this civil action involve a Doogovemmental corporate party witb atry parent corporation and any publicly held corporation owning l0olo or more                              ofits stock?
     (Attach two copies of tbe Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a))                                                        ves[ No[

Does this case involve multidistrict litigation possibilities?                                                                                          ves!       No[Z
REI./ITED CASE, IF ANY:
Case Number:                                              Judge                                                          Date Tsrminated:


Civil      cases are deemed related when yes is answered to any         ofthe following questions:

l.    Is tbis case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                                        ve.! Nfi
2. Doestbiscaseinvolvethesameissueoffactorgrowoutofthesamekansactionasapriorsuitpendingorwithinoneyearpreviouslyterminated
      action in tbis court?
                                                                                                                                                        v*E          NoE
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered                        case pending or   within one year previously
      terminated action in this court?                                                                                                                  ves! NoEI
4.    Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filcd by the same individual?

                                                                                                                                                        vesn         Nfl
cIVIL: (Place       y' in oNe cerEGoRY oNLY)
A.     Federal Question Cases:                                                                                               B.    Diversity Jurisdiction Cases',
 l.I         Indemnity Contract, Marine Contract, and All Other Contracts                                                    l.I      Insurance Contract and Other Contracts
 z.   !rnre                                                                                                                  2.
                                                                                                                                ! Airnlane Personal Injury
3. nJones             Act-Personal Injury                                                                                    3.! Assault, Defamation
4.f]Antitrust                                                                                                                4.
                                                                                                                                ! Marine Personal Injury
 5.!         latent                                                                                                          5.
                                                                                                                                !Motor Vehicle Personal Injury
 6.
      !Labor-Management Relations                                                                                            O.! Other Personal Injury (Please specify)
 z.I         civit Rlghts                                                                                                    7.
                                                                                                                               !Products Liability
 8.!Habeas              Corpus                                                                                               8.!Products Liability                   Asbestos
                                                                                                                                                               -
 9. f]Securities Act(s) Cases                                                                                                9.f]     All other Diversity Cases
10.!Social Security Review Cases                                                                                                       (Please   speci!)
I l.E All other Federal Question Cases
              (Please specify)


                                                                             ARBITRATION CERTIFICATION
                                                                                       (C h ec k    Appropiate   Cat egory)
     Jacquolino C. Romero                                                counsel ofrecord do hereby           certi!:
      o    Pursuanttol,ocalCivilRule53.2,Section3(c)(2),thattothebestofmyhowledgeaodbelief,thedamagesrecoverableinthiscivilactioncaseexceedthesumof
$I   50,000.00 exclusive of interest and costs;
      tr    Relief other than monetary damages is soygE.
                                                                   '
                                                                   **             .z-- >-'-'-
                                                                                   L=/K -2..- >,>-
                                                                       - r - 11.
DATE:         04/2sl2016                                           l C.Xomero. AUSA
                                                                    Attomey-at-Law                                                                            Attomey I.D.#
                                               NOTE: A trial      de novo    will be a trial   by   jury only if there   has been compliance     with F.R.C.P. 38.

I certify thrt, to my howledge, the within crse is not related to                 aayry        now pending or within one yeer previously terminrted rction ln thls court
ercept rs noted rbove.


DATET         o4t25l20'.t6                                          C. Romero, AUSA

                                                                    Attomey-at-Law                                                                          Aftomey I.D.#
crv.609 (st20t2)
            Case 2:16-cv-01950-CMR Document 1 Filed 04/25/16 Page 4 of 15

                                 IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF PEI\NSYLVANIA

                          CASE MANAGEMENT TRACK DESIGNATION FORM

UNITED STATES OF AMERICA,

                          Plaintiff
                                                                      CIVIL ACTION NO.
                                       v.

JOHN LONGACRE; SOUTH PHILADELPHIA                     :

TAP ROOM; LONGACRE HOLDINGS, LLC;
LPMG MANAGEMENT COMPANY; LPMG
CONSTRUCTION MANAGEMENT LLC;
LPMG FINANCIAL; LONGACRE
PROPERTY MANAGEMENT GROUP;
CITYWIDE PROPERTIES ONE, INC.,

                          Defendants.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of filing the
complaint and serve a copy on all defendants. (See $ l:03 of the plan set forth on the reverse side of this form.)
In the event that a defendant does not agree with the plaintiff regarding said designation, that defendant shall,
with its first appearance, submit to the clerk of court and serve on the plaintiff and all other parties, a Case
Management Track Designation Form specifuing the track to which that defendant believes the case should be
assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a)       Habeas Corpus   -   Cases brought under 28 U.S.C. 5 2241through $ 2255.                      ()
(b)       Social Security - Cases requesting review of a decision of the Secretary of Health
          and Human Services denying plaintiff Social Security     Benefits.                           (    )

(c)       Arbitration - Cases required to be designated for arbitration under Local Civil
          Rule 53.2.                                                                                   (    )

(d)       Asbestos - Cases involving claims for personal injury or property damage from
          exposure to asbestos.                                                                        (    )

(e)       Special Management - Cases that do not fall into tracks (a) through (d) that are
          commonly referred to as complex and that need special or intense management by
          the court. (See reverse side ofthis form for a detailed explanation ofspecial
          management cases.)                                                                           (    )

(0        Standard Management      -        that do noi fall into any one ofthe other tracks.          (x)
April25.2016
                                            "ilm                               Pm'usA
Date                                   Attorney-at-law                         Attorney for
(215) 861-8470                         (21s) 861-8618                          j   acqueline.romero@usdoj . gov
Telephone                              FAX Number                              E-Mail Address
(Civ.660) 10/02
            Case 2:16-cv-01950-CMR Document 1 Filed 04/25/16 Page 5 of 15

                                     IN THE IINITED STATES DISTRICT COI]RT
                                  FOR THE EASTERII DISTRICT OF PEI\NSYLVANIA

                              CASE MANAGEMENT TRACK DESIGNATION FORM

UNITED STATES OF AMERICA,

                              Plaintiff
                                                                            CryIL ACTION NO.
                                          v.

JOHN LONGACRE; SOUTH PHILADELPHIA:
TAP ROOM; LONGACRE HOLDTNGS, LLC;
LPMG MANAGEMENT COMPANY; LPMG
CON STRUCTION MANAGEMENT LLC;
LPMG FINANCIAL; LONGACRE
PROPERTY MANAGEMENT GROUP;
CITYWIDE PROPERTIES ONE, INC.,

                              Defendants.

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(a)       Habeas Corpus       -   Cases brought under 28 U.S.C. 5 2241through S 2255.                         ()
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          and Human Services denying plaintiff Social Security Benefits.                                      ()
(c)       Arbitration   -   Cases required to be designated for arbitration under Local         Civil
          Rule 53.2.                                                                                          ()
(d)       Asbestos - Cases involving claims for personal injury or property damage from
          exposure to asbestos.                                                                               ()
(e)       Special Management - Cases that do not fall into tracks (a) through (d) that are
          commonly referred to as complex and that need special or intense management by
          the court. (See reverse side ofthis form for a detailed explanation ofspecial
          management cases.)                                                                                  ()
(f)       Standard Management         -   Cases that do not      into      one   ofthe other tracks.          (x)
                                          : -)-*--*,- aa')    llrz--'z-\
April25.2016                                                                          Plff. USA
Date                                      Attorney-at-law                             Attorney for
(2ts). 861-8470                           (2r5\ 861 -861 8                            j   acqueline.romero@usdoj . gov
Telephone                                 FAX Number                                  E-Mail Address
(Civ.660) 10/02
       Case 2:16-cv-01950-CMR Document 1 Filed 04/25/16 Page 6 of 15




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


I,NITED STATES OF AMERICA,

                                Plaintiff,

                v.                                             CWIL ACTION NO.

JOHN LONGACRE; SOUTH PHILADELPHIA:
TAP ROOM; LONGACRE HOLDINGS, LLC;
LPMG MANAGEMENT COMPANY; LPMG
CONSTRUCTION MATIAGEMENT LLC;
LPMG FINAITICIAL; LONGACRE
PROPERTY MANAGEMENT GROUP;
CITYWIDE PROPERTIES ONE, INC.,

                                Defendants.


                                             COMPLAINT

       Plaintiffthe United States of America (the "United States"), by its attomey Zane David

Memeger, United States Attorney for the Eastem District of Pennsylvania, alleges as follows:

       1.       This is a civil action to redress discrimination on the basis of disability in

violation of Title III of the Americans with Disabilities Act of 1990, 42 U.S.C. $$ l2l8l-12189

("ADA"),    and its implernenting regulations, 28 C.F.R. Part 36.

       2.       The United States brings this civil action pursuant to Section l2lSSOXI)(B)      of

the ADA and 28 C.F.R. $ 36.503 because the United States has reasonable cause to believe that

the South Philadelphia Tap Room has discriminated against people with disabilities by failing to

remove barriers to accessibility as required by the ADA.

                                              PARTIES

       3.       Plaintiff is the United States ofAmerica.
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         4.        Defendant South Philadelphia Tap Room is        a   bar and restaurant located at 1509

Mifflin Street, Philadelphia, PA      19145 ("Tap Room").

         5.        Defendant Longacre Holdings, LLC ("Longacre Holdings") is a company also

with   a business address   at 1509 Mifflin Sfreet, Philadelphia, PA 19145.

         6.        Defendant LPMG Management Company ("LPMG Management") is a company

with business addresses at 1621 McKean Street, Philadelphia, PA 19145 and 1928 S. Bancroft

Street, Philadelphia, PA I9145.

,         7.       Defendant LPMG Construction Management LLC ("LPMG Construction') is a

company with a business address at 162l-23 McKean Street, Philadelphia, PA                lgl45.

          8.       Defendant LPMG Financial ("LPMG Financial") is a company with a business

address   at l826Ridge Avenue, 2nd Floor, Philadelphia, PA             19140.

          g.       Defendant Longacre Property Managernent Group ("Longacre Property

Managernent") is a company also with a business address at 1826 Ridge Avenue, 2nd Floor,

Philadelphia, PA 19130

          10.      Defendant Citywide Properties One, Inc. ("Citywide") is a company also with a

business address     at l826Ridge Avenue, 2nd Floor, Philadelphia, PA           19130.

          1   1.   Upon information and belief, defendant John Longacre ("Longacre") is the

President and/or Owner of the Tap Room, Longacre Holdings, LPMG Management, LPMG

Construction, LPMG Financial, Longacre Property Management, and Citywide.

          12.      Upon information and belief, defendants Longacre, Tap Room, Longacre

Holdings, LPMG Management, LPMG Construction, LPMG Financial, Longacre Property

Managernent, and Citywide own and operate the Tap Room and the building in which the Tap

Room operates at 1509       Mifflin   Street, Philadelphia,   PA 19145.



                                                       2
        Case 2:16-cv-01950-CMR Document 1 Filed 04/25/16 Page 8 of 15




        13.         The Tap Room facility is a "place ofpublic accommodation" within the meaning

of Title III of the ADA because its operations affect commerce and, among other things, it is "a

restaurant, bar or other establishment serving food or    drink." 42 U.S.C. $ 12181(7XB);       see

C.F.R. $ 36.104. Defendants Longacre, Longacre Holdings, LPMG Management, LPMG

Construction, LPMG Financial, Longacre Property Management, and Citywide are therefore

"public accommodation[s]" within the meaning of Title III of the ADA. See 42 U.S.C. $$

12181(7XB    ), 12182(a);    28 C.F.R. $ 36.104.

        14.         Upon information and belief, 1509 Mifflin Street was renovated by defendants in

2003 for its current use as the Tap Room.

        15.         Defendants' renovation of 1509 Mifflin Street in 2003 was an "alteration" as

defined by the      ADA. See28 C.F.R.    $ 36.402(b)

                                    JURISDICTION ANN VTNUB

        16.         This Court has jurisdiction over this action pursuant to $ 1218S(bXlXB) and 28

U.S.C. $$   l33l and 1345.

         17.        Venue lies in this District pursuant to 28 U.S.C. $ 1391O). The acts   of
discrimination alleged in this Complaint occurred in this District, and the Tap Room is situated

in this District.




                                      FACTUAL ALLEGATIONS

       The Compliance Review and the Government's Attempts to Contact the Tap Room

        18.         Section 12188(bX1)(AXi) of the ADA provides that the "Attorney General . . .

shall undertake periodic reviews of compliance of covered entities under this Title."
          Case 2:16-cv-01950-CMR Document 1 Filed 04/25/16 Page 9 of 15




          19.   On March 11,2075, the United States Attorney's Office for the Eastern District     of

Pennsylvania announced an ADA compliance review of certain restaurants in this District

pursuant to Section 1218S(bXl)(AXi) of the ADA.

          20.   The Tap Room was one of the restaurants included in the compliance review.

          21.   As part of the compliance review, the United States Attorney's Office mailed

survey forms conceming ADA compliance to the Tap Room on March 6,2075. A United States

Postal Service certified mail return receipt form shows that the survey was received and signed

for by someone at the Tap Room address on March g,2OI5. Defendants did not respond to the

survey.

          22.   On   April 16,2Ol5,the United   States   Attorney's Office redelivered the survey and

letters to the Tap Room via hand delivery. The survey and letters were received and signed for

on that day by a Tap Room employee. Although the letter accompanying this delivery requested

that defendants respond by   April 21,2015,   defendants did not respond to the survey.

          23.   On May 8,2075,an Assistant United States Attorney spoke to defendant

Longacre regarding the survey and previous corespondence. Defendant Longacre requested that

the Govemment forward the previous correspondence and survey to him via email. An email

attaching the survey and the letters was sent to defendant Longacre that same day. Defendant

Longacre never responded, and no representative ofthe Tap Room responded, Defendant

Longacre also did not respond to a second email sent on June 3,2015.

          24.   The United States Attorney's Office sont a letter to defendant Longacre at LPMG

Management on August 18, 2015 listing some of the barriers to accessibility and informing him

that defendants were required to remove the architectural barriers to access. The letter was hand

delivered and signed for by an LPMG Management employee. Defendants did not respond.
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       25.       The United States Attomey's Office sent the August 18, 2015 letter to defendant

Longacre via email on September I       l, 2015. Defendants did not respond.

       26.       As set forth more fully below, the United States Attorney's Office's has

information and belief that defendants are operating the Tap Room facility in violation of the

ADA.

                             The Tap Room's Barriers to Accessibiliry

       27.       The Tap Room is a one-story restaurant with upper and ground level dining areas.

The two dining area levdls are connected by stairs within the restaurant.

       28.       Numerous architectural barriers at the Tap Room prevent or restrict access by

individuals with disabilities. 42 U.S.C. $ 12182(b)(2XA);28 C.F.R. $ 36.304.

       29.       Barriers to access that exist within the Tap Room include, but are not limited to,

the following:

                 (a) The main customer entrance to the Tap Room is a corner entry facing South

                     Hicks Street and Mifflin Street. This entrance is one step up (approximately 6

                     inches) from the sidewalk. There is also no signage indicating an accessible

                     entrance to the Tap Room. See    l99l   Standards, $$ 4.1 .2(7)(c),4.1.6(1Xh),

                     4.30.1 ,4.30.2,4.30.3 and4.30.5; see20lO Standards, $$ 202.3, 206,216.6

                     and 703.5.

                 (b) The entrance door facing South Hicks Street and Mifflin Street does not

                     provide a clear width of 32 inches minimum     .   See 2010 Standards $$ 206.4,

                     206.5.1,404.2.3.

                 (c) The entrance door has a thumb latch which is not easy to grasp with one hand

                     and which requires tight grasping and tight pinching contrary to $$ a.1.3(7)
Case 2:16-cv-01950-CMR Document 1 Filed 04/25/16 Page 11 of 15




           and 4.13.9 of the 1991 Standards and contrary to $$ 206.5 .2,404.2.7 and,

           309.4 of the 2010 Standards. Handles, pulls,latches,locks and other operable

           parts on doors must operate with one hand and not require tight grasping,

           pinching or twisting of the wrist.    ^See
                                                        2010 Standards $$ 206.5.2, 404.2.7, and

           309.4.

      (d) The women's and men's toilet rooms lack a permanent room identification

           sign identifuing the toilet rooms in raised characters and Braille at 48 inches

           minimum height next to the doors of the toilet rooms. See l99l Standards

           $$ 4.1.3(16)(a),4.30.1, 4.30.4,4.30.5 and 4.30.6; see2010 Standards $$ 216.2

           and 703.1-703.5.

      (e) The clear opening width of the entrance doors to both the women's and men's

           toilet rooms is less than 32 inches. See l99l Standards $$ 4.1.3(7)O), 4.13.5

           and Fig. 24(a); see 2010 Standards $$ 206.5.2 and 404.2.3.

      (0   The entry door hardware on both the men's and women's toilet room doors

           consists of knobs which require tight grasping, pinching, or twisting of the

           wrist.   See   l99l   Standards $$ 4.1.6(b) and 4.13.9; see 2010 Standards

           $$ 206.5.2, 404.2.7 and 309.4.

      (g) Both the men's and women's toilet rooms lack a minimum of 60 inches deep

           by l8 inches wide of maneuvering clearance on the latch side of the door for           a


           forward approach to pull opan the doors. See         l99l   Standards $$ 4.1.3(7Xb),

           4.13.6 and Fig. 25(a); see 2010 Standards $$ 206.5.2 arrd 404.2.4.

      (h) A minimum 60-inch diameter or          a T-shaped   turning space is not provided

           inside either of the men's or women's toilet rooms. See 1991 Standards
     Case 2:16-cv-01950-CMR Document 1 Filed 04/25/16 Page 12 of 15




                    $$ 4.1.3(l    l), 4.22.3,4.2.3 andFig.     3; see2070 Standards $$ 213.2, 603.2.1

                    and 304.

              (i)   The clearance around the toilet in both the women's and the men's toilet

                    rooms is not at least 48 inches measured perpendicular from the side wall and

                    66 inches measured perpendicular from the rear              wall.   See 1991 Standards


                    $   $ 4. I .3( I I ), 4.22.3, 4.22.4, 4.16.2 and Fig. 28.


              fi)   The bottom edge of the reflecting surface of the mirrors in both the men's and

                    women's toilet rooms is more than 40 inches above the finish floor. See 1991

                    Standards $$ 4.1.3(1      l), 4.22.6,4.19.6    and Fig. 37; see 2010 Standards


                    $$ 213.3.5 and 603.3.

              (k) The hot water supply and drain pipes under the sinks in the men's                and


                    women's toilet rooms are not insulated or otherwise configured to prevent

                    contact. See l99l Standards $ 4.1.3(l l),4.22.6, and 4.19.4; see 2010

                    Standards $$ 213.3.4 and 606.5.

              (l)   An accessible water closet with clear floor space and grab bars is not

                    provided. See l99l Standards $$ 4.1.3(l l),4.22.4,4.16 and 4.26; see2010

                    Standards $$ 213.3.2,604 and 609.

              (m)An accessible lavatory (sink) with front approach clear floor space is not

                    provided. See l99l Standards $$ 4.1.3(l l), 4.22.4, 4.19 and Fig. 3l; see 2010

                    Standards $$ 213.3.2, 305, and 606.

       31.    It would be readily achievable for defendants to remove some or all of the barriers

to access at the Tap Room.
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        32.    Defendants have failed to remove some or all of the barriers to access at the Tap

Room.

        33.    To the extent that some it is not readily achievable to remove some barriers at the

Tap Room, Defendants have failed to make the Tap Room facility's goods and services available

through alternative methods that are readily achievable. 42 U.S.C. $ 12182(2XA)(v); 28 C.F.R.

$ 36.30s.

        34.    The barriers to accessibility at the Tap Room facility cause the Tap Room

facility's elements, spaces or common arears and the paths of travel to these   areas to   fail to be

readily accessible to and usable by individuals with disabilities to the maximum extent feasible.

42 U.S.C. $ 12183; 28 C.F.R. $$ 36.402-406.

                                      CAUSE OF ACTION

        35.    Plaintiff repeats paragraphs I through 34 as if set forth fully herein. Defendants,

by and through their actions and omission, have discriminated, on the basis of disability, in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages and

accommodations, by:

               a.      failing to remove architectural barriers to access where it is readily

               achievable to do so; and

               b.      making alterations that are not readily accessible to and usable by

               individuals with disabilities.

         36.   Defendants' failure to remove the barriers to access constifutes unlawful

discrimination against a person or group of persons that raises an issue of general public

importance within the meanin gof 42 U.S.C. $    i2188O)(lXBXii)     and 28 C.F.R. $ 36.503(b).

                                     PRAYER FOR RELIEF
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       WHEREFORE, the United States prays that this Court enter judgment:

       A.      Declaring that Defendants have violated Title III of the ADA and its

implementing regulation;

       B.      Ordering Defendants to remove all violations of Title III of the ADA at the Tap

Room, including but not limited to, the violations set forth above;

       C.      Compensating persons aggrieved, and assessing a civil penalty against Defendants

in an amount authorizedby 42 U.S.C. $ 12l88OX2XC); 28 C.F.R. $ 36.50a(a)(3), to vindicate

the public interest; and

       D.      Granting such other relief as the interests ofjustice may require.
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                               By:
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